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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,
                                                  Civil Action No. 2:15-cv-1631-JRG-RSP
                v.
                                                     CONSOLIDATED LEAD CASE
 RICOH AMERICAS CORPORATION, et
 al.,

                       Defendants.


                                    ORDER OF DISMISSAL

       Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant C&A
.
IP Holdings, LLC (“Defendant”) (collectively, the “Parties”), Joint Motion to Dismiss (the

“Motion”).

       IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

against Defendant are dismissed WITH prejudice.

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s claims in this action

against Plaintiff are dismissed WITH prejudice.

       IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and all

attorneys’ fees.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 26th day of April, 2016.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
